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                                                                        Sheppard, Mullin, Richter & Hampton LLP
                                                                        30 Rockefeller Plaza
                                                                        New York, New York 10112-0015
                                                                        212.653.8700 main
                                                                        212.653.8701 fax
                                                                        www.sheppardmullin.com

                                                                        Theodore C. Max
                                                                        212.653.8702 direct
                                                                        tmax@sheppardmullin.com


                                             October 20, 2020
By ECF
The Honorable Gabriel W. Gorenstein
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:     Chanel, Inc. v. The RealReal, Inc.; Civil Action No. 18-cv-10626-VSB-GWG

Dear Judge Gorenstein:

        We are counsel for plaintiff Chanel, Inc. (“Chanel”) and write pursuant to paragraph 5 of
the Court’s October 6, 2020 Order [Dkt. No. 63] to report on the status of the parties’ discussions
to date regarding scheduling of mediation in this matter.

       Pursuant to Your Honor’s order, on October 12, 2020, counsel for Chanel contacted
counsel for defendant The RealReal, Inc.(“TRR”) and proposed mediation before a JAMS
mediator (a retired federal district court judge to be selected by the parties) during the following
three weeks and proposed to report to the Court as to the results of the mediation by November
10, 2020.

        TRR’s counsel responded that TRR agreed to conduct a private mediation through
JAMS, but did not believe that mediation would be fruitful at present given the disagreement as
to certain proposed settlement points based upon prior correspondence. TRR instead proposed to
mediate at or closer to the end of fact discovery in early 2021 once the record has been further
developed.

       I sent an email this week to suggest to opposing counsel that we discuss mediation further
and understand TRR’s position with regard to proposed settlement points. I suggested that it
might be prudent to explore mediation at this point and after the close of discovery rather than
waiting for after the close of discovery.

     In sum, the parties have agreed on the method of mediation (private mediation through
JAMS), but have not agreed on a date to conduct such mediation.

                                               Respectfully submitted,

                                               /s/ Theodore C. Max

                                               Theodore C. Max
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The Honorable Gabriel W. Gorenstein
October 20, 2020
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cc: Counsel of Record
